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                                      UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF NEW YORK


PRIMITIVO ROBLES, on behalf of himself and all
                                                                                   NOTICE OF APPEARANCE
others similarly situated,

                                                     Plaintiff,                   Case No.:       24-8445
                  V.

FLYNNSTONED CORPORATION,

                                                     Defendant.




            PLEASE TAKE NOTICE that the law firm of Bousquet Holstein PLLC, by and through

the undersigned counsel, Gregory D. Eriksen, hereby appears in the above-entitled action as lead

counsel for Defendant, Flynnstoned Corporation.



Dated:         January 9, 2024                             BOUSQUET HOLSTEIN, PLLC

                                                                                          ~
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